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MAY ~ 6 2019

 

UNITED STATES DISTRICT COURT |
FOR THE EASTERN DISTRICT OF VIRGIN

 

SONY MUSIC ENTERTAINMENT, e¢ ai.,

 

 

 

CLERK, U.S. DISTRICT COURT

 

 

 

Plaintiffs, ALEXANDRIA, VIRGINIA

V Case No. 1:18-cv-00950-LO-JFA

COX COMMUNICATIONS, INC., et ai.,

 

Defendants.

‘STIPULATED ORDER
TO PRODUCE IDENTIFYING INFORMATION
CONCERNING CERTAIN COX BUSINESS SUBSCRIBERS

WHEREAS Plaintiffs have requested in discovery for this litigation that Defendants
(“Cox”) produce identifying information for Cox Business Subscribers that were the subject of
Plaintiffs’ notices of alleged copyright infringement sent to Cox between February 1, 2013 and
November 26, 2014 (“Business Subscribers”);

WHEREAS Cox has produced certain billing and payment reports from its ICOMS system
at COX_SONY_00973760 through COX_SONY_ 00973767, which identifies customers by cate-
gories without revealing specific identifies of customers, and which shows that 2,793 Business
Subscribers (in addition to certain residential subscribers) were the subject of copyright infringe-
ment notices from Plaintiffs;

WHEREAS Cox has represented that, pursuant to its business privacy policy, Cox provides
information about Cox Business Subscribers to third parties only as required to comply with the
law; and

WHEREAS Cox contends that its disclosure of personally identifiable information about
subscribers to Cox’s cable service or other service is governed by the Cable Communications Pri-

vacy Act, 47 U.S.C. § 551;
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IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs and Cox that

Cox shall make reasonable efforts to notify the Business Subscribers, within five days of entry of

this Stipulated Order, of Cox’s intent to disclose their name and contact information to Plaintiffs

pursuant to this Order. Such notice shail give the notified Business Subscribers an opportunity to

seek relief from the Court within ten days. If a notified Business Subscriber fails to object and seek

such relief within fifteen days of this Stipulated Order, Cox shall promptly disclose such Business

Subscriber’s name, address and associated ICOMS ID to Plaintiffs, subject to the Stipulated Pro-

tective Order in this case (ECF No. 58).

Dated: May 6, 2019 Respectfully submitted,

/s/ Scott A. Zebrak/

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ORDER GRANTING STIPULATION TO PRODUCE IDENTIFYING INFORMATION
CONCERNING CERTAIN COX BUSINESS SUBSCRIBERS

IT IS HEREBY ORDERED that within five days, Cox shall provide notice to the certain
Cox Business Subscribers described above, of Cox’s intent to produce their name and address to
Plaintiffs in connection with this litigation. Such notice shall give the Business Subscribers ten
days to object or seek relief from the Court. If a notified Business Subscriber fails to object within
fifteen days of this Stipulated Order, Cox shall promptly disclose such Business Subscriber’s name

and address to Plaintiffs, subject to the Stipulated Protective Order in this case (ECF No. 58).

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ENTERED this _\o”” day of Max 2019

Alexandria, Virginia Lye
The Honorabke Liam O’ Grady
United StateSWistrict Judge
Eastern District of Virginia
